                      Case 4:12-cr-00300-KGB                  Document 290              Filed 02/26/16          Page 1 of 10
AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                                                                                                                             FILED
                                                                                                                         U.S. DISTRICT COURT
                     Sheet I                                                                                         EASTERN DISTRICT ARKANSAS

                                                                                                                     .       FEB 2 6 2016
                                          UNITED STATES DISTRICT COURT                                                      ,/i;
                                                           Eastern District of Arkansas
                                                                                                               JAMES ~c
                                                                                                               By:          ~rlf K'CLERK
                                                                                                                                               DEPCLERK
                                                                          )
                 UNITED STATES OF AMERICA                                 )       JUDGMENT IN A CRIMINAL CASE
                                   v.                                     )
                        TYLER LAMASTUS                                    )
                                                                                  Case Number: 4: 12-cr-00300-01 KGB
                                                                          )
                                                                          )       USM Number: 27359-009
                                                                          )
                                                                          )        FRANKE. SHAW
                                                                          )       Defendant's Attorney
THE DEFENDANT:
'2'.I pleaded guilty to count(s)        2s and 6s

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
 21 U.S.C. § 841 (a)(1)             Possession with Intent to Distribute Marijuana,                          12/14/2010                   2s

 and (b)(B)                         a Class B Felony



       The defendant is sentenced as provided in pages 2 through         __7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
'2'.I Count(s)    1, 1s, 2-4, 4s, 5-22, 5s, 7-23s       Dis       '2'.I are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofany change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          2/24/2016
                                                                         Date oflmposition of Judgment




                                                                          Kristine G. Baker, United States District Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                       Sheet IA
                                                                                              Judgment-Page      of
DEFENDANT: TYLER LAMASTUS
CASE NUMBER: 4:12-cr-00300-01 KGB

                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                                       Offense Ended        Count
26 u.s.c. §§ 5861 (d)             Possession of Unregistered Firearm, a Class C Felony    12/14/201 O           6s

and 5871
                       Case 4:12-cr-00300-KGB              Document 290            Filed 02/26/16         Page 3 of 10
AO 2458 (Rev. I 0/15) Judgment in Criminal Case
                        Sheet 2 - Imprisonment

                                                                                                    Judgment -   Page -~3~_ of   7
 DEFENDANT: TYLER LAMASTUS
 CASE NUMBER: 4:12-cr-00300-01 KGB

                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

    57 months. This term consists of 57 months on Count 2 and 57 months on Count 6. All such terms are to run concurrently.




      Ill The court makes the following recommendations to the Bureau of Prisons:

    The Court recommends the defendant participate in nonresidential substance abuse treatment, mental health counseling, and
    educational and vocational programs during incarceration. The Court further recommends the defendant be incarcerated in a
    facility close to the Central Arkansas area.

      Ill The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
          D at                                               D p.m.       on

          D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

a   ---------------~
                                                  , with a certified copy of this judgment.



                                                                                                 UNITED ST ATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STA TES MARSHAL
                        Case 4:12-cr-00300-KGB                  Document 290             Filed 02/26/16           Page 4 of 10
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                            Judgment-Page           of
 DEFENDANT: TYLER LAMASTUS
 CASE NUMBER: 4:12-cr-00300-01 KGB
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 4 years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as direc.ted by the probation offi~er, the Burea1:1 of Prisons, or any state sex offender registration agency in which he or she resides,
          works, 1s a student, or was convicted of a quahfymg offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any })ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
        Sheet 3C - Supervised Release
                                                                                           Judgment-Page ~5~- of           7
DEFENDANT: TYLER LAMASTUS
CASE NUMBER: 4:12-cr-00300-01 KGB

                                          SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program, which may include testing, outpatient counseling and residential treatment. Further, the defendant
 shall abstain from the use of alcohol during the course of treatment.

 The defendant shall participate in mental health treatment under the guidance and supervision of the probation office.

 The defendant shall participate in cognitive behavioral therapy and treatment under the guidance and supervision of the
 probation office.
                        Case 4:12-cr-00300-KGB                Document 290            Filed 02/26/16          Page 6 of 10
AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment -   Page _ _6~_     of        7
 DEFENDANT: TYLER LAMASTUS
 CASE NUMBER: 4:12-cr-00300-01 KGB
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                       Fine                               Restitution
 TOTALS             $    200.00                                      $    0.00                          $    0.00


 D The determination ofrestitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the prioricy order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

   Name of Payee                                                           Total Loss*        Restitution Ordered         Priority or Percentage




 TOTALS                               $                       0.00          $ - - - - - - - -0.00
                                                                                              --


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the          D fine      D restitution.
       D the interest requirement for the           D fine    D restitution is modified as follows:

 *Findings forthe total amountoflosses are required under Chapters 109A, 110, 1 lOA, and 113A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 10/15) Judgment in a Criminal Case
        Sheet 6- Schedule of Payments

                                                                                                                 Judgment - Page             of
 DEFENDANT: TYLER LAMASTUS
 CASE NUMBER: 4:12-cr-00300-01 KGB

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZI   Lump sum payment of$ -200.00
                                    - - - - - - due immediately, balance due

             D     not later than                                     , or
             D     in accordance         D C,        D D,        D     E, or     D F below; or
 B     D     Payment to begin immediately (may be combined with                oc,         D D, or       D F below); or
C      D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 IZI   The defendant shall forfeit the defendant's interest in the following property to the United States:
        See Preliminary Order of Forfeiture attached hereto.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                      PLAINTIFF

v.                                  Case No. 4:12-cr-00300-01 KGB

TYLER LAMASTUS                                                                DEFENDANT

                        PRELIMINARY ORDER OF FORFEITURE

       It is hereby ordered that:

       1.     As the result of the November 9, 2015, guilty plea of Tyler Lamastus

("Defendant"), Defendant shall forfeit to the United States, under 18 U.S.C. § 924(d) and 28

U.S.C. § 2461(c), the following property:

              (A) a MasterPiece Arms, .45 ACP caliber, machine gun, serial number A0268;

              (B) a M-11 type, 9mm caliber, machine gun, without a serial number;

              (C) a Sten-type, 9mm Luger caliber, machine gun, without a serial number;

              (D) a Ruger, Model MkII, .22 caliber pistol, serial number 219-91192, equipped

              with a firearm silencer;

              (E) a Full Metal Jacket (FMJ), Inc., Model CM-11/NINE, machine gun receiver

               serial number XX-XXXXXXX;

              (F) a Stag Arms machine gun receiver, serial number 95085;

              (G) a Stag Arms machine gun receiver, serial number 95087;

              (H) a Stag Arms machine gun receiver, serial number 95089;

               (I) a Stag Arms machine gun receiver, serial number 95090;

               (J) a Stag Arms machine gun receiver, serial number 95091;

               (K) a Stag Arms machine gun receiver, serial number 95092;

               (L) a Stag Arms machine gun receiver, serial number 95093;
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               (M) a Stag Arms machine gun receiver, serial number 95094;

               (N) a Stag Arms machine gun receiver, serial number 95095;

               (0) a Stag Arms machine gun receiver, serial number 95096;

               (P) a Stag Arms machine gun receiver, serial number 95097;

               (Q) a Stag Arms machine gun receiver, serial number 95098;

               (R) an M-11 type machine gun receiver, without a serial number;

               (S) a Stag Arms, Model 15, AR 15-type rifle, serial number 95088;

               (T) a Stag Arms, Model 15, AR-15 type rifle, serial number 95086;

               (U) a Taurus Judge, 410/.45 caliber pistol, serial number CW921179;

               (V) an RG 145 .22 caliber pistol, serial number 2012977;

               (W) a Pardner, Model 410 gauge, sawed-off shotgun, serial number NP400609.

(collectively "property subject to forfeiture").

       2.      Upon the entry of this Order, the United States Attorney General or a designee

(collectively "Attorney General") is authorized to seize the above-listed property and to conduct

any discovery proper in id~ntifying, locating, or disposing of the property subject to forfeiture.

Fed. R. Crim. P. 32.2(b)(3). Further, the Attorney General is authorized to commence any

applicable proceeding to comply with statutes governing third party rights.

       3.      The United States shall publish, in such a manner as the Attorney General may

direct, notice of this Order and the United States' intent to dispose of the property subject to

forfeiture. The United States may also, to the extent practicable, provide written notice to any

person known to have an alleged interest in the property subject to forfeiture.

       4.      Any person, other than Defendant, asserting a legal interest in the property subject

to forfeiture may petition the Court for a hearing without a jury to adjudicate the validity of his

or her alleged interest in the property and for an amendment of this Order. See 21 U.S.C. §
                                                   2
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853(n)(2); 28 U.S.C. § 2461(c).       This petition must be filed within 30 days of the final

publication of notice or receipt of notice, whichever is earlier. 21 U.S.C. § 853(n)(2).

       5.      This Preliminary Order of Forfeiture shall become final as to Defendant at the

time of sentencing and shall be made part of the sentence and included in the judgment. Fed. R.

Crim P. 32.2(b)(4)(A). If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture. Fed. R. Crim. P. 32.2(c)(2).

       6.      Any petition filed by a third party asserting an interest in the property subject to

forfeiture shall be signed by the petitioner under penalty of perjury and shall set forth the nature

and extent of the petitioner's right, title, or interest in the property subject to forfeiture, the time

and circumstances of the petitioner's acquisition of the right, title or interest in the property

subject to forfeiture, any additional facts supporting the petitioner's claim and the relief sought.

        7.     After the disposition of any motion filed under Federal Rule of Criminal

Procedure 32.2(c)(l)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

        8.     The United States shall have clear title to the property subject to forfeiture

following the Court's disposition of all third-party interests, or, if none, following the expiration

of the period provided for the filing of third party petitions.

        9.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary. See Fed. R. Crim. P. 32.2(e).

        It is so ordered this 9th day of December, 2015.




                                                    Kristine G. Baker
                                                    United States District Judge
                                                    3
